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                    THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION



MEETRIX IP, LLC,

           Plaintiff,                      Civil Action No. 1:16-cv-1033-LY

v.

CITRIX SYSTEMS, INC., GETGO, INC.,
AND LOGMEIN, INC.,

           Defendants.




         MEETRIX IP, LLC’S REPLY CLAIM CONSTRUCTION BRIEF
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       Pursuant to the Court’s Pre-Markman Scheduling Order (Case No. 1:16-cv-1033, Doc. No.

44), Plaintiff Meetrix IP, LLC (“Meetrix” or “Plaintiff”) hereby files this Reply Claim

Construction Brief, and in support thereof, state as follows:

I.     PLAINTIFF’S REPLY ARGUMENTS

       A.      “Multicast Appliances”

 Term to be Construed              Plaintiff’s Construction          Defendants’ Construction
 “multicast appliances”            Devices that provide              Devices that use a group
                                   information destined to           address to send a message
                                   multiple locations via a single
 ’997 Patent, Claims 1, 3, 5,      transmission.
 11, & 13


       The principal distinction between the parties’ proposed constructions concerns the

inclusion of “using a group address” in the construction of “multicast appliance.” Defendants

contend that use of a group address must be included. Defendants’ Opening Claim Construction

Brief (Dkt. No. 60) at 5 (“Defendants’ Brief”). However, the inclusion of “use of a group address”

is improper because it is claimed elsewhere in specific and different language, and to inject it into

the construction of “multicast appliance” would be contradictory, rendering the other claim

language superfluous and confusing.

       A review of the claim language—which is of course paramount per Phillips—demonstrates

that the receipt of a “group address” by a multicast appliance is separately claimed:

       sending a first message to each of a plurality of multicast appliances over the
              Internet, wherein the first message comprises a group address which
              identifies a plurality of participants;

       each of the multicast appliances receiving the first message;

’997 patent, claim 1 (emphasis added).




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       “[I]nterpretations that render some portion of the claim language superfluous are

disfavored.” Power Mosfet Techs., L.L.C. v. Siemens AG, 378 F.3d 1396, 1410 (Fed. Cir. 2004);

see also Merck & Co. v. Teva Pharm. USA, Inc., 395 F.3d 1364, 1372 (Fed. Cir. 2005) (“A claim

construction that gives meaning to all the terms of the claim is preferred over one that does not do

so.” (citations omitted)).

       Importantly, the “group address” limitation in claim 1 is used differently than Defendants

would require by paraphrasing it in their proposed construction of “multicast appliance.” Claim 1

merely says that the multicast appliances “receiv[e] the first message.” See ’997 patent, claim 1.

There is nothing in the claim language about each multicast appliance using a group address to

send a message. See also claims 3 and 11. On the other hand, dependent claims 5 and 13 separately

claim transmitting group information by the telephone participant. See ’997 patent, claims 5 and

13 (“transmitting multicast group information to the gateway server”).

       As this court has frequently stated, the presence of a dependent claim that adds a
       particular limitation raises a presumption that the limitation in question is not found
       in the independent claim. See Wenger Mfg., Inc. v. Coating Mach. Sys., Inc., 239
       F.3d 1225, 1233 (Fed. Cir. 2001); Comark, 156 F.3d at 1187…. In such a setting,
       where the limitation that is sought to be “read into” an independent claim already
       appears in a dependent claim, the doctrine of claim differentiation is at its
       strongest. See Sunrace Roots Enter. Co. v. SRAM Corp., 336 F.3d 1298, 1302–03
       (Fed. Cir. 2003).

Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 910 (Fed. Cir. 2004) (emphasis added).

Defendants’ construction should be rejected.

       B.      “Virtual Private Networks”; “Virtual Private Network”

 Term to be Construed              Plaintiff’s Construction         Defendants’ Construction
                                   two or more approximations       private networks of securely
 virtual private networks
                                   of a private network across a    connected appliances across a
 (VPNs)
                                   public network using             public network
                                   encryption to privatize
 ’997 Patent, Claims 1, 3, & 11    communication




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 Term to be Construed              Plaintiff’s Construction          Defendants’ Construction
                                   an approximation of a             private network of securely
 virtual private network (VPN)
                                   private network across a          connected appliances across a
                                   public network using              public network
 ’525 Patent, Claims 13 & 14       encryption to privatize
                                   communication

       Defendants contend that Plaintiff’s proposed construction of “VPN” should not include the

phrase “an approximation of a network.” Defendants’ Brief at 7. But Plaintiff’s proposed

construction does not; it includes “an approximation of a private network.” This distinction

highlights exactly why Defendants’ arguments fail, as Defendants confuse the notion of private

networks and virtual private networks. They are distinct, hence the use of the word “virtual.”

       A public network is a network that is public, such as the Internet. A private network is a

network that is not public and typically made up of physically segregated, dedicated lines that do

not carry public traffic. An example of this includes a large corporation’s internal private network

where two offices are interconnected through a dedicated physical connection (e.g. T-1, T-3) that

is not connected to the Internet. In this example, it is impossible to communicate with someone

on the Internet, because the lines are physically separate.

       In contrast, a virtual private network is a logically private network (c.f. physically separate)

established over a public network such as the Internet. At its essence, a VPN logically simulates

a private network but is not a private network. In this regard, it is “an approximation of a private

network,” but yet, not a private network.

       Defendants argue that Plaintiff’s proposed construction should exclude “encryption.”

Defendants’ Brief at 9. Essentially, Defendants argue that the specification distinguishes between

“VPN” and “encryption” and therefore VPN cannot include encryption as Plaintiff proposes. But

Defendants’ argument is predicated on an intentional mischaracterization of the intrinsic record.




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       First, Defendants argue that “the specification treats encryption as distinct from VPNs” See

id. For this, they paraphrase the description in the ‘997 patent, 9:25-31 that reads: “[a]lternative

embodiments may exclude encryption and [be implemented with] virtual private networks

including public non-encrypted information, public Internet interfaces or over private switched

networks.” See id. (modification by Defendants). But, Defendants’ insertion of the bracketed

text in lieu of the actual language is calculated and misleading. The actual text reads: “may exclude

encryption and virtual private networks” not may exclude encryption and [be implemented with]

virtual private networks. The entire passage demonstrates that they are incorrect:

       For security purposes all connections that traverse across the open Internet 435 are
       preferably secured by the use of encryption running within a virtual private
       network. Alternate embodiments may exclude encryption and virtual private
       networks including public nonencrypted information, public Internet interfaces or
       over private switched networks.

’997 patent, 9:25-31. Thus, the specification describes as a preferred embodiment a VPN enforced

with encryption, and as an alternative embodiment excluding VPNs and encryption on some

channels. There is no statement that VPNs exclude encryption. Only by manipulating the plain

language of the specification can Defendants muster an argument.

       Moreover, Defendants argue against the inclusion of “encryption” but at the same time

propose a construction for VPN that includes “secure[] connections.” As a practical matter, an

encrypted connection is a secured connection. Defendants’ proposed construction belies Citrix’s

own definition of VPN. According to the Citrix Online Glossary, Defendant Citrix understands a

VPN to be “a private communication channel that interconnects networks through primarily public

infrastructures (e.g. the Internet)….SSL VPNs, provide security and encrypted communications

through the secure sockets layer tunneling protocols.” CITRIX ONLINE GLOSSARY available at:

https://www.citrix.com/glossary. This definition contradicts Defendants’ proposed construction

that a VPN is a private network, and instead refers to a VPN as a private channel which supports


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Plaintiff’s construction. Further, Citrix’s definition includes the construction of encryption, further

supporting Plaintiff’s construction.

       Second, the citation that Defendants cite above relates to an alternative embodiment that

describe claims that do not contain the VPN limitation. For example, claim 1 of the ‘525 patent

does not contain the VPN limitation, but does teach a device “coupled to the Internet.” This is

instructive because claim 1 teaches a system that mixes various data streams over a public network

(e.g., the Internet) but without a VPN. This comports with and supports Plaintiff’s construction of

virtual private networks.

       Similarly, Defendants argue that U.S. Patent No. 7,664,056 (not asserted or at issue in this

matter) somehow supports their point because claims 1 and 7 of that patent contains a VPN

limitation and dependent claims 5 and 8 describe encryption, that VPN cannot include encryption.

Defendants’ Brief at 9. But though it is true that claim 1 contains a VPN limitation, dependent

claim 5 specifically relates to “encrypting multicast IP packets.” Defendants’ Brief, Ex. 5. Thus,

the encryption is employed for a particular purpose, and adds a material limitation to VPN.

       C.      “Virtual Private Network Tunnel” or “Virtual Private Network (VPN) tunnel”
               or “VPN tunnel”

    Term to be Construed               Plaintiff’s Construction        Defendants’ Construction
                                                                     secure connection between two
 “virtual private network         See VPN, supra.
                                                                     appliances in a private network
 tunnel” or                       “tunnel”: encapsulation            across a public network
 “virtual private network
 (VPN) tunnel” or
 “VPN tunnel”


 ’525 Patent, Claims 5 & 7
 ’332 Patent, 1 & 5




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       The only additional word in this grouping of terms relative to VPN, supra, is “tunnel.” The

essence of tunneling is encapsulation, meaning the technical mechanism whereby separateness is

achieved across a public network. As set forth in the Microsoft Computer Dictionary:

       tunnel: vb. to encapsulate or wrap a packet or a message from one protocol in the
       packet for another. The wrapped protocol is then transmitted over a network via
       the protocol of the wrapper.

MICROSOFT COMPUTER DICTIONARY, 4th ed. (1999) at p. 453 (attached as Exhibit 1). A person

of ordinary skill in the art would understand the phrase consistently with Plaintiff’s proposed

construction.

       For the reasons set forth above, a VPN is not a “private network.” It is a virtual private

network. For this additional reason, Defendants’ proposed construction should be rejected.

       D.       “Conferencing Server”—[AGREED]

   Term to be Construed              Plaintiff’s Construction        Defendants’ Construction
                                  server for managing a            server for managing a
 “conferencing server”
                                  conference                       conference


       The parties have agreed on the proposed construction set forth above.

       E.       “Authenticating” / “Authenticated”

    Term to be Construed              Plaintiff’s Construction      Defendants’ Construction
 “authenticating /                  No construction necessary.    verifying the identify of /
 authenticated”                                                   verified

                                    or, in the alternative:
 ’997 Patent, Claims 1, 3, & 11

                                    establishing authorization.

       First, this claim term requires no construction as a members of the jury would readily

understand “authentication.”      In the event that the Court determines the term does require

construction, the term means “establishing authorization.”




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       The main difference between the parties construction is Defendants’ would require that an

identity be verified. Defendants’ argument—“authenticating’ means determining that something

is authentic, such as verifying a person’s identity—not granting access to something”—leaves

vague whether establishing authorization to join a conference call by a group code is sufficient. A

person of ordinary skill in the art would understand that “authenticating” in this context would

include establishing authorization, such as through a passcode.

       F.      “The System Comprising …Each Of The Multicast Appliances Receiving The
               First Message … One Or More Of The Participants Communicating …The
               Telephone Participant Provides … The Telephone Participant Speaks …. ”

    Term to be Construed             Plaintiff’s Construction         Defendants’ Construction
 “the system comprising …         Not indefinite.                   Indefinite as directed to more
                                                                    than one statutory class of
 each of the multicast                                              subject matter, i.e., a system
 appliances receiving the first                                     and a method.
 message …

 one or more of the
 participants communicating
 …

 the telephone participant
 provides …

 the telephone participant
 speaks ….”

 ’997 Patent, Claims 11, 12,
 13, & 14


       As set forth in Meetrix’s opening brief, the “system for adding a telephone participant to a

multi-participant conference” is designed to accommodate and facilitate human interaction.

Indeed, without human interaction the system is of little or no value.

       But Defendants’ position that an accused infringer would be confused by the alleged

mixing of method and system steps can be summarily rejected. The subject claim limitations

describe the roles of the claimed participants, as in Biosig. The claim is directed to a system, not


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the participants themselves. The participants provide input to the system, which is handled in the

manner claimed. See Biosig Instruments, Inc. v. Nautilus, Inc., 715 F.3d 891, 904 (Fed. Cir. 2013)

(finding as definite an apparatus claim that included functional language describing how a claimed

heart rate monitor is held by a user, calculates the user's heart rate, and displays the user's heart

rate).

         G.      “Moderator”

     Term to be Construed             Plaintiff’s Construction        Defendants’ Construction
 “Moderator”                        No construction necessary.      Conference participant
                                                                    equipped to dial out to the
 ’525 Patent, Claims 1, 5, 9
                                                                    PSTN client(s) or have the
                                                                    PSTN client(s) dial into it
 ’332 Patent, Claim 1, 2, 3 & 5


         This claim term requires no construction, as a jury would understand “moderator” to mean

a host of a conference. Defendants argue that because Plaintiff “has not agreed to accept

[Defendants’ proposed] construction,” nor offered its own, that “there is evidently a dispute to be

resolved.” Defendants’ Brief at 16. However, this is not the law. “[D]istrict courts are not (and

should not be) required to construe every limitation present in a patent’s asserted claims.” O2

Micro v. Beyond Innovation, 521 F.3d 1351, 1362-63 (Fed. Cir. 2008) (emphasis in original).

         [A] district court is not obligated to construe terms with ordinary meanings, lest
         trial courts be inundated with requests to parse the meaning of every word in the
         asserted claims.

Innovative Communications Tech., Inc. v. Vivox, Inc., 2012 WL 5331573, *4 (E.D. Va. 2012)

(citing O2 Micro, 521 F.3d at 1362). It is incumbent on Defendants to state a dispute; absent such

a dispute, the Court need not do Defendants’ bidding and construe every term they raise.

         If a claim term does not possess any relevant, latent ambiguities, was not specially defined

by the patentee in the specification, was not the subject of a disclaimer during prosecution, and is




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not overly technical or legalistic in nature, then the term need not be replaced with any new

language during claim construction. See O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521

F.3d 1351, 1362 (Fed. Cir. 2008) (“We, however, recognize that district courts are not (and should

not be) required to construe every limitation present in a patent’s asserted claims.”); U.S. Surgical

Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed. Cir. 1997) (“Claim construction is a matter of

resolution of disputed meanings and technical scope, to clarify and when necessary to explain what

the patentee covered by the claims, for use in the determination of infringement. It is not an

obligatory exercise in redundancy.”). In fact, doing so under such circumstances would be a

needless exercise of replacing a common, well understood term with a synonym, serving no

purpose at all except, perhaps, to introduce mischief into the process. See C.R. Bard, Inc. v. U.S.

Surgical Corp., 388 F.3d 858, 863 (Fed. Cir. 2004) (agreeing that “merely rephrasing or

paraphrasing the plain language of a claim by substituting synonyms does not represent genuine

claim construction”).

       In Defendants’ proposed construction, Defendants are attempting to import limitations

about the moderator having a telephone with PSTN capability. There is nothing inherent in being

system moderator that would require that capability. Claim 1 of the ’525 patent, for example,

claims mixers and transport outputs, and does not claim actions taken by the moderator, such as

establishing a PSTN connection.

       H.      “A Non-Transitory Computer-Readable Medium Including Instructions For A
               Multi-Participant Conference Process To Be Executed By A Local Moderator
               Computer”

    Term to be Construed             Plaintiff’s Construction          Defendants’ Construction
                                  No construction necessary.
 A non-transitory computer-                                          Preamble is limiting:
                                  Preamble is not limiting with
 readable medium including                                           Software application for
                                  respect to the computer that
 instructions for a multi-                                           performing a multi-participant
                                  executes the code.
 participant conference                                              conference, which is
                                                                     persistently stored in a form a



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    Term to be Construed            Plaintiff’s Construction         Defendants’ Construction
 process to be executed by a                                        computer can read, that is run
 local moderator computer                                           by a local moderator
                                                                    computer.

 ’525 Patent, Claims 9, 10,
 11, 12, 13, 14, 15, & 16


       There is nothing in the subject claims that mandates deviating from the general rule that

preambles are non-limiting. The location to run code is a statement of intended use. When, as

here, a structurally complete claim follows, such statements are non-limiting. Pitney Bowes, Inc.

v. Hewlett-Packard Co., 182 F.3d 1298, 1305 (Fed. Cir. 1999); see also Rowe v. Dror, 112 F.3d

473, 478 (Fed. Cir. 1997) (“where a patentee defines a structurally complete invention in the claim

body and uses the preamble only to state a purpose or intended use for the invention, the preamble

is not a claim limitation”).

       Claim 9 identifies a complete invention, including five receiving steps relating to different

aspects of the system, two mixing steps also identifying the data to be mixed, a transmitting step

and a compressing step. The preamble in no way provides further structure to the claimed method.

See ’525 patent, claim 9. The remaining claims to which this preamble is pertinent are dependent

on claim 9 and draw no additional support from the preamble.

       I.        “First Mixer”; “Second Mixer”; “Third Mixer”

    Term to be Construed            Plaintiff’s Construction          Defendants’ Construction
                                                                    a mixer that is different from
 “first mixer”                   No construction necessary.
                                                                    the second mixer

 ’525 Patent, Claim 1

                                                                    a mixer that is different from
 “second mixer”                  No construction necessary.
                                                                    the first mixer
 ’525 Patent, Claim 1




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    Term to be Construed              Plaintiff’s Construction         Defendants’ Construction
 “third mixer”                   No construction necessary.          a mixer that is different from
                                                                     the first and second mixers

 ’525 Patent, Claim 2


       There is no dispute with the meaning of the word “mixer” that Defendants have identified,

but Defendants would interject the word “different,” into each construction, without explaining

what makes them so. “It is widely understood that the terms ‘first’ and ‘second’ in a patent claim

are modifiers, used to delineate multiple instances of the same or similar structure.” Stone Basket

Innovations LLC v. Cook Med. LLC, No. 2:15-CV-464-JRG-RSP, 2016 WL 1182926, at *5 (E.D.

Tex. Mar. 28, 2016) (citing 3M Innovative Properties co. v. Avery Dennison Corp., 350 F.3d 1365,

1371 (Fed. Cir. 2003) and holding that no construction was necessary for “first” and “second.”).

The Stone Basket case is instructive. Multiple “instances” of the same structure could be the same

server running multiple instances of the same routine with different inputs. Or it could be the same

routine addressing multiple inputs.

       Defendants’ reliance on Gillette Co. v. Energizer Holdings, Inc. is misplaced. 405 F.3d

1367 (Fed. Cir. 2005). In Gillette, the issue was whether or not a claim that recited a first, second

and third blade was necessarily limited to just that – 3 blades – and no more (e.g. Energizer’s

QUATTRO™ four-bladed razor). Id. at 1368 (noting that the district court erred in construing the

claims of the ‘777 patent to only three blades). The Federal Circuit reasoned “[t]he claim is []

clearly not using the ordinals—first, second, third—to show a consecutive numerical limit but only

to distinguish or identify the various members of the group.” Id. at 1373. “More important, the

language of the claim itself, with its open transition phrases and use of ordinals to distinguish but

not limit claim elements, shows that the invention embraces ‘a plurality of blades’ [and not just

three].” Id. at 1374. Thus, it was error to construe use of ordinary words—first, second, and



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third—to narrow the claim, itself, like Defendant proposes here. Accordingly, Defendants’

proposed construction should also be rejected.

       In support of their argument, Defendants state that the claims themselves recite what is

being mixed:

       The “first mixer” mixes “a Public Switched Telephone Network (PSTN) client
       audio data stream with a moderator audio-video data stream into a first mixed data
       stream”; the “second mixer” “mixes the moderator audio video data stream…”

Defendants’ Brief at 22-23 (quoting ‘525 patent, claims 1 & 2). Defendants are correct, but this

undermines their own argument. “Quite apart from the written description and the prosecution

history, the claims themselves provide substantial guidance as to the meaning of particular claim

terms.” Phillips v. AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005) (citation omitted). Since

the claims of the ‘525 patent recite exactly what is being mixed, no further construction is

necessary. Indeed, to adopt Defendants’ constructions would likely make the claim terms more

confusing.

       Finally, Defendants highlight three separate mixers in Fig. 6 from which they apparently

infer that the first, second and third mixers must be physically separate structures. See Defendants’

Brief at 22. But Defendants misunderstand the nature of system flowcharts; the mixers shown can

be accomplished by any processing function, as reflected by the boxes and circles in the chart.

They are not intended to be circular physical structures, and a person of ordinary skill would not

understand them in that way.

       Indeed, the specification describes the preferred embodiment in Figure 6 as achieved with

a system running software to achieve mixing: “[i]t may be assumed in this embodiment that the

functions and features of FIG. 6 are running on general-purpose hardware using various software

to accomplish the tasks at hand.” ‘525 patent, 7:38-41. Thus, the first, second and third mixer can




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be achieved logically with one computer running various software routines, contrary to the

Defendants’ proposed construction.

       J.      “Audio-Video Data Stream” / “Audio-Video Stream”

    Term to be Construed             Plaintiff’s Construction          Defendants’ Construction
                                                                     a single stream of combined
 audio-video data stream /       media data transmitted in a
                                                                     audio and video data
 audio-video stream              relatively continuous fashion.
 ’525 Patent, Claims 1, 2, 4,
 5, & 7


       The issues with regard to this disputed claim term are two-fold: (1) whether “audio-video

data” can include audio, video and collaboration data (it can); and (2) whether “stream” is limited

to combined audio and video data (it is not). Each is addressed below.

       First, Plaintiff’s construction of the term “audio-video data stream” to mean “media data,”

correctly captures the thrust of the patented invention – sharing audio, video and collaboration data

over a hybrid network. This is squarely described in the specification with regard to one preferred

embodiment:

       FIG. 3 illustrates one embodiment of the invention. This embodiment allows audio
       video and data collaboration information to be securely transferred between a
       plurality of local and remote clients preferably within a virtual private
       network….The embodiment integrates full duplex audio, video, and data
       connections between clients conferencing on the Internet and clients conferencing
       on standard telephone systems.

‘525 patent, 4:56-67 (emphasis added). Additionally, the specification describes Fig. 4 with

similar language:

       FIG. 4 illustrates one embodiment of the present invention. The system of FIG. 4
       performs audio transport between multiple client groups who all share the same
       multicast group address such that audio/video and data may be shared interactively
       without the need of central servers. Multicast protocol and encapsulated media
       packets are implemented so that media data may be routed through public or
       private IP networks without the need for special hardware and software during the
       majority of the network transport….Multicasting enabled appliances 447, 449, 451,



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        453, 455, and 457 are used at the origination or termination points for audio, video,
        or data (media data) to and from the backbone of the transport path.

‘525 patent, 5:36-53 (emphasis added). The patented invention and the claims themselves teach

not only sharing audio and video, but also collaboration information.           Indeed, Defendants

apparently concede this concept: “media data can refer to just audio, just video, or just another

type of data [i.e. collaboration data] which is neither audio nor video.” Defendants’ Brief at 20.

Yet, Defendants’ proposed construction attempts to improperly narrow the claim term to solely

audio and video. In contravention of Federal Circuit law, Defendants’ proposed construction

would improperly exclude those embodiments where collaboration data is also shared. Chimie v.

PPG Industries, Inc., 402 F.3d 1371, 1377 (Fed. Cir. 2005); see Oatey Co. v. IPS Corp., 514 F.3d

1271, 1276-77 (Fed. Cir. 2008) (“We normally do not interpret claim terms in a way that excludes

embodiments disclosed in the specification ...”).       Thus, the Court should adopt Plaintiff’s

construction since “media” includes collaboration data, as opposed to just “audio and video” as

Defendants’ suggest.

        Second the Defendants’ argument with regard to “streaming” is unsupported by intrinsic

or extrinsic evidence. Defendants posit that “streaming” can only mean a single stream. In support

of their position, Defendants offer an analogy of “streaming” sugar and salt to make cookies:

“having a stream of salt and sugar would require combing the salt and sugar, and then having them

flow down the same chute.” Defendants’ Brief at 20. “Streaming” is the notion of providing

something in a continuous fashion – not whether two or more ingredients are streamed separately

or combined. Even applying their analogy, were portions of salt and sugar poured into a bowl in

a physical stream, there is no reason to believe that the “stream” would have to be equal parts of

salt and sugar at all times, or that at any given moment salt or sugar would be part of the received

flow.



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       K.      “Mixed Audio-Video Data”

    Term to be Construed            Plaintiff’s Construction          Defendants’ Construction
 “mixed audio-video data”        No construction necessary.          a mix of both audio and video
                                                                     data

 ’525 Patent, Claims 9, 13, &
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       Defendants have merely rearranged the words of the claim term to be construed, and

therefore have not provided a meaningful definition. See Profectus, 2014 WL 1575719, at *6-7

(“The Court also finds unhelpful Plaintiff’s circular dictionary definition … This definition is

simply a recitation of the words the Court is seeking to define.”); Abbott Labs, 544 F.3d at 1360.

       L.      “First Mixed Data Stream”; “Second Mixed Data Stream”; “Third Mixed
               Data Stream”

    Term to be Construed            Plaintiff’s Construction           Defendants’ Construction
                                                                     Data stream that only contains
 “first mixed data stream”       No construction necessary.
                                                                     a mix of both the PSTN client
                                                                     audio data stream and the
 ’525 Patent, Claims 1 & 8                                           moderator audio-video data
                                                                     stream
                                                                     Data stream that only contains
 “second mixed data stream”      No construction necessary.
                                                                     a mix of both the moderator
 ’525 Patent, Claims 1 & 6                                           audio-video data stream and
                                                                     the remote client audio-video
                                                                     data stream
 “third mixed data stream”       No construction necessary.          Data stream that only contains
                                                                     a mix of both the audio data
 ’525 Patent, Claim 2
                                                                     from the PSTN client and the
                                                                     audio-video data stream from
                                                                     the remote client

       As set forth above, “[i]t is widely understood that the terms ‘first’ and ‘second’ in a patent

claim are modifiers, used to delineate multiple instances of the same or similar structure.” Stone

Basket Innovations LLC v. Cook Med. LLC, No. 2:15-CV-464-JRG-RSP, 2016 WL 1182926, at



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*5 (E.D. Tex. Mar. 28, 2016) (citing 3M Innovative Properties co. v. Avery Dennison Corp., 350

F.3d 1365, 1371 (Fed. Cir. 2003) and holding that no construction was necessary for “first” and

“second.”).

        With respect to the notion that the data stream must exclude all data other than that which

is included in Defendants’ construction, there is no such language of exclusion in the claim.

Defendants’ proposed construction is inconsistent with patent law; if so, Defendants could avoid

infringement by adding one bit that does not meet their fabricated exclusion. That is contrary to

“horn book law.”

        Modification by mere addition of elements of functions, whenever made, cannot
        negate infringement without disregard of the long-established, hornbook law
        expressed in Cochrane v. Deener, 94 U.S. 780, 786 (1876); Eastern Rotorcraft
        Corp. v. United States, 397 F.2d 978, 981 (Ct. Cl. 1968) (infringement not avoided
        by adding an additional element); [] Acme Highway Products Corp. v. D.S. Brown
        Co., 473 F.2d 849, 855 (6th Cir.), cert. denied 414 U.S. 824 (1973) (“An accused
        device cannot escape infringement by merely adding features, if it otherwise has
        adopted the basic features of the patent.”).

Amstar Corp. v. Envirotech Corp., 730 F.2d 1476, 1482 (Fed. Cir. 1984).

        Defendants’ contention that the claims must be construed to exclude certain source data

contradicts the very case law on which Defendants purport to rely. In Gillette, the Federal Circuit

held that “the language of the claim itself, with its open transition phrases and use of ordinals” was

used “to distinguish but not limit claim elements.” Gillette, 405 F.3d at 1374. In other words,

although the claims referred to three blades, it was error to limit the scope of the claims to merely

three blades. Id. at 1373. That is no different than the position that Defendants advance here.

        For example, Defendants argue that the “‘first mixed data stream’ does not include the

‘remote client audio-video data stream’ because the ‘first mixed data steam’ is transmitted to the

‘at least one remote client.’” Defendants’ Brief at 24. However, this construction would

necessarily limit the claims to a three participant conference call. In the event that four participants



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engaged in a conference—two remote clients, a PSTN participant and moderator—Defendants’

proposed construction would improperly limit the scope of the claims. Thus, to adopt Defendants’

construction would be to limit the claims to three participants and no more—contrary to the law

in Gillette.

        M.     “First Mixed Audio Data”; “Second Mixed Audio Data”; “Third Mixed Audio
               Data”

    Term to be Construed           Plaintiff’s Construction          Defendants’ Construction
                                No construction necessary.         Audio data that only contains
 “first mixed audio data”
                                                                   a mix of both the first audio
                                                                   data from the PSTN client(s)
 ’332 Patent, Claim 1 & 6                                          and the second audio data
                                                                   from the moderator
                                                                   Audio data that only contains
 “second mixed audio data”
                                                                   a mix of both second audio
                                                                   data from the moderator and
 ’332 Patent, Claim 1 & 7                                          the third audio data from the
                                                                   remote client(s)


 “third mixed audio data”                                          Audio data that only contains
                                                                   a mix of both the first audio
                                                                   data from the PSTN client(s)
 ’332 Patent, Claim 2                                              and the third audio data from
                                                                   the remote client(s)


        As with respect to the data stream limitations above, the claim term requires that first,

second and third mixed audio data have audio data that has been mixed. There is no limitation

express or inherent about other data that may or may not be present. See supra.




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Dated: September 11, 2017                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was filed
electronically in compliance with Local Rule 5(b)(2)(E) on September 11, 2017. As of this date,
all counsel of record had consented to electronic service and are being served with a copy of this
document through the Court’s CM/ECF system under Local Rule 5(b)(2)(E) and by email.

                                                    /s/ Andrew G. DiNovo




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